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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                               Plaintiff,
       v.                                                         No. 1:21-cr-01826-JB

MANUEL ULIBARRI,

                               Defendant.

                                            ORDER

       THIS MATTER is before the Court on Defendant’s Motion to Continue Conditions of

Release. Doc. 93. The United States opposed Defendant’s motion. The Court, having reviewed

the Motion, and having heard oral argument and having been otherwise duly advised, finds that

the motion is not well taken and should be denied. For the reasons stated on the record at the

hearing on September 29, 2023, the Court finds that the Defendant does not meet the requirements

for release pending sentencing under 18 U.S.C. § 3142(a)(2).

       IT IS THEREFORE ORDERED that Defendant’s Motion to Continue Conditions of

Release (Doc. 93) is DENIED. The conditions of release previously imposed are revoked and

Defendant Manuel Ulibarri is remanded to the custody of the U.S. Marshal pending final

disposition in this matter.




                                            ____________________________________
                                            UNITED STATES MAGISTRATE JUDGE
